Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 1 of 106            FILED
                                                                   2005 Mar-08 AM 11:15
                                                                   U.S. DISTRICT COURT
                                                                       N.D. OF ALABAMA
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 2 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 3 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 4 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 5 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 6 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 7 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 8 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 9 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 10 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 11 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 12 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 13 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 14 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 15 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 16 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 17 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 18 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 19 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 20 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 21 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 22 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 23 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 24 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 25 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 26 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 27 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 28 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 29 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 30 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 31 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 32 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 33 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 34 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 35 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 36 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 37 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 38 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 39 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 40 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 41 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 42 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 43 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 44 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 45 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 46 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 47 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 48 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 49 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 50 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 51 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 52 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 53 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 54 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 55 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 56 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 57 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 58 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 59 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 60 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 61 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 62 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 63 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 64 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 65 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 66 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 67 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 68 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 69 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 70 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 71 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 72 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 73 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 74 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 75 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 76 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 77 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 78 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 79 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 80 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 81 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 82 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 83 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 84 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 85 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 86 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 87 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 88 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 89 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 90 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 91 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 92 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 93 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 94 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 95 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 96 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 97 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 98 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 99 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 100 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 101 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 102 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 103 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 104 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 105 of 106
Case 6:05-cv-00479-IPJ Document 1-1 Filed 03/04/05 Page 106 of 106
